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UNITED STATES DISTRICT COURT
FOR: THE DISTRICT OF COLUMBIA

THE: ASSOCIATED PRESS,
Plaintiff,

v. Civil Action No. 25-0532 (TNM)

TAYLOR BUDOWICH,
White House Deputy Chief of Staff;et al.,

Defendants.

THIRD. DECLARATION OF TAYLOR BUBOWICH

1, TAYLOR BUDOWICH, pursuant to 28 U.S.C. §. 1746, declare under penalty of perjury’
that the following is‘true and correct to the best of my recolléction arid belief.

1, Tam Deputy Chief of Staff and Cabinet Secretary at the White House.

2, Toffer the. following declaration based on my personal knowledge arid. information
that I have learned in the scope of my job responsibilities.

3. Based on my present knowledge, since April 14,2025, the Associated Press has not
been excluded from the. White House Press. Pool based on its viewpoint.

A, ‘On Monday, April 14, 2025, Reuters was selected: for the thien-existing daily press.
pool slot for wire services because it was Reuters’s regular tutr in the rotation.

5. On Tuesday, April 15, 2025, the White House announced.a new Press Pool Policy.
Under that policy, the Associated Press’s treatment is not based on its viewpoint, [-understarid that
absent a stay of the Court’s injunction in this matter, the Associated Press is expected to receivea
spot in the Press Pool for print journalists by April 20, 2025. I also understand that photojournalists
from the Associated Press are eligible for rotation into the pool and will not be denied.access based

on viewpoint. ‘T understand'that.an AP photojournalist was admitted to the pool today.

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Dated: April 17, 2025.

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ALOR BUDOWICH

Deputy Chief of Staff and Cabinet Secretary

